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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                                  AMARILLO DIVISION

   AMERICAN HEALTH CARE
   ASSOCIATION,            et al.,

                    Plaintiffs,

   v.                                                                        2:24-CV-114-Z-BR (lead)
                                                                             2:24-CV-171-Z (consolidated)
   ROBERT F. KENNEDY, JR., e¢ al.,

                    Defendants.

                                     MEMORANDUM OPINION AND ORDER

             Before the Court are Plaintiffs’ Motion for Summary Judgment (“Motion”) (ECF No.

  57), filed October 18, 2024, and Defendants’ Cross-Motion for Summary Judgment (“Cross-

  Motion”) (ECF No. 80), filed November 15, 2024. Having considered the Motions, briefing,

  and relevant law, the Court GRANTS                     Plaintiffs’ Motion and DENIES            Defendants’ Cross-

  Motion. Accordingly, the staffing requirements in the Final Rule published in 89 Fed. Reg.

  40876      (May     10, 2024)      and    codified   at 42   C.F.R.    Section   483.35(b)(1)   and   483.35(c)   are

 VACATED            per 5 U.S.C. Section 706(2).

             INTRODUCTION

             Society has a duty to care for its elderly. Nursing homes play a necessary role. But

  failures    plague      them.      See,   e.g., Medicare     and      Medicaid   Programs;      Minimum     Staffing

  Standards for Long-Term Care Facilities and Medicaid Institutional Payment Transparency

 Reporting, 89 Fed. Reg. 40876, 40833 (May 10, 2024) (recounting personal stories of nursing

 home failures). These failures include “inadequate staffing levels, poor infection control,

 failures in oversight and regulation, and deficiencies that result in actual patient harm” and

  a “pervasive . . . undervaluing [of] the lives of older adults.” NAT'L ACADS. OF SCIS., ENG’G &
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  MED., THE NATIONAL           IMPERATIVE     TO IMPROVE       NURSING        HOME    QUALITY:   HONORING        OUR

  COMMITMENT TO RESIDENTS, FAMILIES, AND STAFF 2 (2022).

           These deficiencies deserve an effectual response. But any regulatory response must

  be   consistent   with     Congress’s    legislation      governing       nursing   homes.   The    Final    Rule’s

  challenged provisions are not. Though the Final Rule attempts to remedy chronic nursing

  home deficiencies, it does so deficiently. It requires nursing homes participating in Medicare

  or Medicaid to have a registered nurse on staff at least twenty-four hours a day, although

  Congress set the baseline at eight hours a day. And it attempts to require every participant

  nursing home      to achieve minimum             staffing hours only based on a facility’s number                 of

  residents, although Congress mandated consideration of a facility's individual nursing needs.

  Though rooted in laudable goals, the Final Rule still must be consistent with Congress’s

  statutes. To allow otherwise permits agencies to amend statutes though they lack legislative

  power. Separation of powers demands more than praiseworthy intent.

           BACKGROUND

           I. Medicare and Medicaid Programs

           Congress amended the Social Security Act in 1965 to create Medicare and Medicaid.

  See Social Security Amendments of 1965, Pub. L. No. 89-97, 79 Stat. 286. Medicare provides

  health   insurance       to those   sixty-five    years    and   older.     42   U.S.C.   §1395c.   The     federal

  government runs Medicare. Medicaid provides health insurance to low-income people. 42

  U.S.C. §§ 1396-1, 1396a.

           Medicaid is a joint federal-state program. Miller v. Gorski Wladyslaw Est., 547 F.3d

  273, 277 (5th Cir. 2008) (“Under this system of ‘cooperative federalism,’ if a state agrees to

  establish a Medicaid plan, the federal government agrees to pay a specified percentage of the

  total amount the state plan spends on medical assistance.” (quoting Harris v. McRae,                           448

 U.S. 297, 308 (1980))).
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          Private     providers,   government    healthcare    facilities,   or   individual     healthcare

  professionals offer healthcare services under these programs. Participation in either program

  is voluntary. Miller, 547 F.3d at 277; True Health Diagnostics, LLC v. Azar, 392 F. Supp. 3d

  656, 660 (E.D. Tex. 2019). If healthcare providers or states choose to participate, they agree

  to comply with federal statutes and regulations governing them. See 42 U.S.C. §§ 1395cc,

  1896a. The Secretary of Health and Human Services administers the programs through the

  Center for Medicare and Medicaid Services (“CMS”). Ark. Dep’t of Health & Hum. Servs. v.

 Ahlborn, 547 U.S. 268, 275 (2006). Congress empowered the Secretary to issue rules and

  regulations “as may be necessary to the efficient administration of the functions” he has

  under the Social Security Act. 42 U.S.C. §§ 1302(a), 13895hh (“The Secretary shall prescribe

  such regulations as may be necessary to carry out the administration of [Medicare].”).

          Nursing homes often participate in both programs. Under Medicare, they must meet

  statutory and regulatory requirements for “skilled nursing facilities.” 42 U.S.C. § 1395i-3.

  Under   Medicaid,     they must    meet   statutory   and   regulatory     requirements      for “nursing

  facilities.” 42 U.S.C. § 13896r. Nursing homes participating in either or both programs are

  “long-term care” facilities that must meet a consolidated set of regulations. 42 C.F.R. § 483.1

  (2024). 97.8% of nursing homes participate in Medicare and 95.4% participate in Medicaid.

 See ECF No. 57-1 at 11-12 & n.2.

          II. Historic Nursing Home Regulations

          Congress, along with various agencies, has regulated participating nursing homes.

  Congress at first required all nursing homes under either program to “providel] 24-hour

 nursing service which is sufficient to meet nursing needs in accordance with the [facility’s

 policies], and has at least one registered professional nurse employed full time.” 42 U.S.C.

  §§ 1895x(j)(6), 1896a(a)(28) (1976). Congress did not further mandate how to accomplish this

 requirement.
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           The Social Security Administration              proposed    regulations to carry out Congress’s

  requirements. Federal Health Insurance for the Aged: Skilled Nursing Facilities, 38 Fed.

  Reg. 18620 (July 12, 1973). These proposed regulations used the same language as the statute

  and required the full-time nurse work “during the day tour of duty 5 days a week.” Id. at

  18625. The Social Security Administration rejected a proposal to impose “a specific ratio of

  nursing staff to patients.” Skilled Nursing Facilities, 39 Fed. Reg. 2238, 2239 (Jan. 17, 1974).

  That is “because the variation from facility to facility in the composition of its nursing staff,

  physical layout, patient needs and the services necessary to meet those needs preclude[d]

  setting such a figure.” Id.

           The     Department      of Health    and Human         Services    (“HHS”)     proposed   revising the

  regulations once it took over administering Medicare and Medicaid in 1980. See Conditions

  of Participation for Skilled Nursing and Intermediate Care Facilities, 45 Fed. Reg. 47368

  (July 14, 1980). But again, the agency declined to “propose[] any nursing staff ratios or

  minimum number of nursing hours per patient per day.” Id. at 47371. This time, the agency

  admitted “[o]ne of the reasons” it declined was because it “was not sure how much staffing

  will be required” and did “not have enough conclusive evidence to support requiring any

  specific numerical standards.” Id.

           So HHS commissioned a multi-year study, in part, to examine the issue. See Medicare

  and Medicaid; Conditions of Participation for Long Term Care Facilities, 52 Fed. Reg. 38582,

  88583    (Oct.    16,   1987)   (discussing   the   Institute   of Medicine     study    to evaluate    “Federal

  regulations      concerning     long term     care facilities” and     examine     how     states regulate    the

  facilities). The Institute of Medicine study concluded that “because of the complexities of case

  mix...    [and]     the wildly     differing needs     of individual       residents    in the   same   facility,”

  “prescribing simple staffing ratios clearly is inappropriate.” INST. OF MED., IMPROVING THE

  QUALITY OF CARE IN NURSING HOMES                    102 (1986). The study recommended              further data
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  collection “to develop an algorithm for relating minimum nursing staff requirements to case

  mix”—not to implement a flat hours-to-resident staffing ratio. Jd. at 200 (expressing interest

  in “an empirically derived algorithm used to estimate the daily nursing time requirements

  for a resident based on his/her assessment scores and service needs”). In short, the Institute

  for   Medicine      evaluated    current    regulations       and    recommended       that    while     a fine-tuned,

  facility-specific algorithm for minimum staffing requirements could be appropriate with more

  data, “simple staffing ratios” like “nurse-to-resident ratios” were “inappropriate” because

  they do not account for “wildly differing needs.” Id. at 101, 102.

            The     study,   and   myriad    other     concerns,      prompted     Congress     to enact     substantial

  revisions to the statutes governing nursing home participation in Medicare and Medicaid.

  Omnibus         Budget Reconciliation Act of 1987, Pub. L. No.                 100-203, §§ 4201-4218,        101 Stat.

  1330, 1330-160 to 1330-221; H.R. REP. No. 100-391, pt. 1, at 452 (1987) (explaining that the

  Institute of Medicine’s finding that many                    nursing homes       provide “shockingly deficient”

  sparked     changes        “to improve     the     quality   of care    for Medicaid-eligible          nursing   home

 residents”).

            Congress’s changes were extensive and particularized. It consolidated a former two-

 tier division between skilled nursing facilities and intermediate care facilities with only a

 “nursing facilities” (“NFs”) designation for Medicaid and “skilled nursing facilities” (“SNFs”)

 in Medicare. Id. § 4211(a), 101 Stat. at 1330-183 to 1330-203. It then required both NFs and

 SNFs to “provide 24-hour nursing service which is sufficient to meet nursing needs of [their]

 residents” and to “employ the services of a registered professional nurse at least during the

 day tour of duty (of at least 8 hours a day) 7 days a week.” Id. § 4201(a), 101 Stat. at 1330-

  163; see also id. § 4211(a), 101 Stat. at 1330-186 (requiring Medicaid NF's “provide 24-hour

 licensed nursing services which are sufficient to meet the nursing needs of [their] residents,

 and... use the services of a registered nurse for at least 8 consecutive hours a day, 7 days a
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  week”). A committee rejected a proposal to require a registered nurse on-site twenty-four

  hours a day, seven days a week. 133 Cong. Rec. 28998 (1987). And Congress let die a separate

  bill requiring the same. H.R. 3543, 100th Cong. (1987). NF's and SNFs could only escape these

  requirements through a detailed process that allowed the Secretary to waive them. Omnibus

  Budget Reconciliation Act of 1987, Pub. L. No. 100-203, § 4201(a), 101 Stat. 1330, 1330-163;

  id. § 4211(a), 101 Stat. at 1330-186.

            Congress        also    granted    the     Secretary      regulatory     authority     to   “assure    that

  requirements” for NFs and SNFs “are adequate to protect the health, safety, welfare, and

  rights of residents and to promote the effective and efficient use of public moneys.” Id.

  § 4201(a)(3), 101 Stat. at 1330-172, § 4211(c), 101 Stat. at 1330-200. Additionally, Congress

  granted    the Secretary regulatory authority over NFs                    and SNFs        to craft “requirements

  relating to the health, safety, and well-being of residents or relating to the physical facilities

  thereof as [he] may find necessary.” Id. § 4201(a)(3),                 101 Stat. at 1330-171; § 4211(b),         101

  Stat. at 1330-196.

            Congress later ordered the Secretary to conduct a study examining whether Congress

  should impose “minimum caregiver to resident ratios . . . for skilled nursing facilities . . . and

  nursing    facilities.”     Omnibus      Budget      Reconciliation     Act   of 1990,    Pub.    L. No.    101-508,

  § 4801(e)(17)(B), 104 Stat. 1888-218 to 1888-219. Congress ordered the Secretary to complete

  the study before January 1, 1992, and to provide “recommendations regarding appropriate

  minimum      ratios.” Id.        § 4801(e)(17)(B),    104   Stat.   at 1388-219.    The    Secretary    missed    the

  deadline by ten years but finally pronounced that “insufficient” data existed, and questions

  remained about “the feasibility of establishing staff ratios.” Letter from Tommy G. Thompson,

  Sec’y of Health & Hum. Servs., to            J. Dennis Hastert, Speaker of the House of Representatives

  1 (Mar. 19, 2002), reprinted in OFF. OF ASSISTANT SEC’Y FOR PLAN. & EVALUATION, DEP’T OF

  HEALTH & HUM. SERVS., STATE EXPERIENCES WITH MINIMUM NURSING STAFF RATIOS FOR
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 NURSING FACILITIES: FINDINGS FROM CASE STUDIES OF EIGHT STATES A-1 (2003). Thus, the

  Secretary opined that Congress should not “establish[] minimum ratios” yet. Id. at 2.

           III. The Statute and Regulations

           Together, Congress’s past enactments require each Medicare or Medicaid nursing

 home to “provide 24-hour licensed nursing services which are sufficient to meet the nursing

 needs of its residents” and to “use the services of a registered professional nurse for at least

  8   consecutive    hours       a   day,   7   days     a   week.”      42    U.S.C.     §§ 1396r(b)(4)(C)@(MHID,

  1895i-3(b)(4)(C)(i). For Medicare, the Secretary may waive the 8-hours-a-day, 7-days-a-week

 requirement. Jd. § 1395i-3(b)(4)(C)(ii). For Medicaid, a particular state may waive either or

 both    requirements          and    the    Secretary       may      also     exercise   the      waiver     power.    Id.

  § 1396r(b)(4)(C)(ii), (iii).

           HHS promulgated regulations that duplicated Congress’s mandate in relevant parts.

 HHS required nursing homes to have “sufficient nursing staff to provide nursing and related

 services to attain or maintain the highest practicable physical, mental, and psychosocial well-

 being of each resident.” 42 C.F.R. § 483.30 (2016). This meant each “facility must provide

 services by sufficient numbers [of different types of nurses] on a 24-hour basis to provide

 nursing    care    to all residents.” Id.       § 483.30(a).      For registered         nurses     specifically,     HHS

 required each facility “use the services of a registered nurse for at least 8 consecutive hours

 a day, 7 days a week.” Id. § 483.30(b). In 2016,                  CMS        declined to depart from its statute-

 mirroring regulations and impose mandatory staffing ratios and a 24-hour registered nurse

 requirement. Medicare and Medicaid Programs; Reform of Requirements for Long-Term Care

 Facilities, 81 Fed. Reg. 68688,            68754—56     (Oct. 4, 2016). It refused because (1) it could not

 identify the proper ratio, (2) nursing homes were too varied to have a blanket number, (3)

 nursing homes might be unable to find sufficient staff, and (4) nursing homes might only staff

 to the minimum.         Jd.     at 68755-56.     Before      the Final       Rule   at issue      here,    congressional
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  mandates governed licensed nursing services and registered nurse hour requirements, as

  implemented by the regulations.

         IV. The Rule

         In February 2022, the Biden Administration announced             its intent to establish a

  minimum    nursing home   staffing requirement to “ensure[] that all nursing home residents

  are provided safe, quality care.” Fact Sheet: Protecting Seniors by Improving Safety and

  Quality of Care in the Nation’s Nursing Homes, THE WHITE HOUSE (Feb. 28, 2022), https://

  bidenwhitehouse.archives.gov/briefing-room/statements-releases/2022/02/28/fact-sheet-

  protecting-seniors-and-people-with-disabilities-by-improving-safety-and-quality-of-care-in-

  the-nations-nursing-homes/ [https://perma.cc/EYP8-8M7W]. It ordered a research study to

  “determine the level and type of staffing needed to ensure safe and quality care.” Id.

         CMS   published the research study in June 2023. Admin. Rec. at 69982. The study

  concluded that higher staffing is related to better quality care but that there was no “clear

  evidence basis for setting a minimum          staffing level.” Id. at 69993.    Further,   the study

  identified other factors beyond staffing levels, such as “[r]esident care needs, which vary

  depending on acuity, clinical complexity, and other resident characteristics, [that] could also

  directly influence quality of care.” Id. at 70006. And it recognized that “workforce shortages

  and current hiring challenges could present barriers to nursing home compliance with a new

  federal staffing requirement.” Jd. at 70003. Thus, nursing home “staffing levels are a ‘critical

  factor’ in determining nursing home quality of care,” but “no obvious plateau at which quality

  and safety are maximized [nor ‘cliff below which quality and safety steeply decline” exists.

 Id. at 69990, 69993 (internal quotation omitted).

         CMS proposed a rule mandating a staffing plateau three months later. Medicare and

  Medicaid   Programs;   Minimum     Staffing    Standards   for Long-Term       Care   Facilities   and

  Medicaid Institutional Payment Transparency Reporting, 88 Fed. Reg. 61352 (Sept. 6, 2023).
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  The proposed rule first independently proposed to “require an RN to be on site 24 hours per

  day and 7 days per week to provide skilled nursing care to all residents” Id. at 61353; ECF

  No. 80-1 at 18. Second, it “propose[d] individual minimum nurse staffing standards of 0.55

  hours per resident day (HPRD) for RNs and 2.45 HPRD for NAs.” 88 Fed. Reg. at 61357. It

  clarified that “meeting the 24/7 requirement does not also count as meeting the 0.55 RN

  HPRD and 2.45 NA HPRD [requirements] and vice versa.” Id. at 61376. The proposed rule

  elicited 46,520 comments. Medicare and Medicaid Programs; Minimum Staffing Standards

  for Long-Term Care Facilities and Medicaid Institutional Payment Transparency Reporting,

  89 Fed. Reg. 40876, 40883 (May 10, 2024).

           CMS promulgated the Final Rule in May 2024. Id. at 40876. The Final Rule contained

  some modifications from the proposed rule “to provide additional flexibility and time for

  facilities   to implement     the[]     changes.”   Jd.     at 40886.      First,   the    Final   Rule   “staggered

  implementation dates over a period of up to five years.” Id. Second, it added a “total nurse

  staffing standard” and added “exemptions from the minimum staffing standards.” Id. The

  total nurse staffing standard required “at                a minimum,    3.48 total nurse staffing hours per

  resident day (HPRD).” Id. at 40877. Underscoring that these minimum staffing standards

  disregard a facility's individual resident needs and cases, CMS declared that “facilities must

  meet   the   minimum   3.48     total    nurse   staffing,    0.55   RN,     and    2.45   NA      HPRD   standards

  regardless of the individual facility’s resident case-mix, as they are the minimum standard

  of staffing.” Id.



          Thus, the Final Rule put in place the two provisions challenged here. The first

  provision mandates that a “facility must have a registered nurse (RN) onsite 24 hours per

  day, for 7 days a week that is available to provide direct resident care” (“24/7 Requirement”).
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  42 C.F.R. § 483.35(c)(1) (2024). The second provision requires facilities to comply with three

  separate minimum staffing standards (“HPRD Requirements”). First, the “facility must meet

  or     exceed   a minimum      of 3.48    hours    per        resident     day    for    total   nurse   staffing.”   Id.

  § 483.35(b)(1). Second, to do so, a facility must have a “minimum of 0.55 hours per resident

  day for registered nurses.” Id. § 483.35(b)(1)G). Third, a facility must have a “minimum of

  2.45 hours per resident day for nurse aides.” Id. § 483.35(b)(1)(ii).

            Rural facilities must comply with the 24/7 Requirement before May 10, 2027. 89 Fed.

  Reg.     at 40913.    They   must    comply   with   the        3.48     total   hours     provision     of the   HPRD

  Requirements before May 10, 2027. Id. And they must comply with the remainder of the

  HPRD Requirements before May 10, 2029. Id. Nonrural facilities must comply with the 24/7

  Requirement before May 10, 2026. Id. They must comply with the 3.48 total hours provision

  of the HPRD          Requirements     before May     10, 2026. Id. And              they must       comply with the

  remainder of the HPRD Requirements before May 10, 2027. Id.

            V. Procedural History

            Plaintiffs challenged the Final Rule’s 24/7 Requirement and HPRD Requirements on

  May 23, 2024, and amended their complaint on June                        18, 2024. ECF Nos.         1, 26. Texas also

  filed suit challenging the Final Rule against the same Defendants on August 14, 2024. ECF

  No. 52 at 1. Upon unopposed motion, the Court consolidated the two cases under Federal

  Rule of Civil Procedure 42. Jd. at 2. Plaintiffs filed their Motion for Summary Judgment on

  October 18, 2024. ECF No. 57. Defendants filed their Cross-Motion for Summary Judgment

  and response to Plaintiffs’ summary judgment motion on November 15, 2024. ECF No. 80.

  Plaintiffs responded to Defendants’ Cross-Motion on December                             13, 2024, and Defendants

  replied on January 17, 2025. ECF Nos. 96, 99. The Motion and Cross-Motion are now ripe.




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           LEGAL STANDARD

           Summary judgment is appropriate if the movant shows no genuine dispute of material

  fact exists, and the movant is entitled to judgment as a matter of law. FED. R. CIv. P. 56(a).

  The moving party bears the initial burden of demonstrating both. See Celotex Corp. v. Catrett,

  477 U.S. 317, 322 (1986). A genuine dispute of material fact exists if “the evidence is such

  that a reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1986).

           Summary judgment “is particularly appropriate in cases in which the court is asked

  to review or enforce a decision of a federal administrative agency.” Girling Health Care, Inc.

  v. Shalala, 85 F.3d 211, 214-15 (5th Cir. 1996). “Under the APA, it is the role of the agency

  to resolve factual issues to arrive at a decision that is supported by the administrative

  record.” Hi-Tech Pharmacal Co., Inc. v. FDA, 587 F. Supp. 2d 13, 18 (D.D.C. 2008). And the

  court’s role in an APA case is to “sit[] as an appellate tribunal.” Am. Bioscience, Inc. v.

  Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001); see also Amin v. Mayorkas, 24 F.4th 383,

  391 (5th Cir. 2022). In such a posture, the “entire case on review is a question of law, and

  only a question of law.” Marshall Cnty. Health Care Auth.                v. Shalala, 988 F.2d 1221, 1226

  (D.C. Cir. 1993). So summary judgment in an APA case “merely serves as the mechanism for

  deciding, as a matter of law, whether the agency action is supported by the administrative

  record and otherwise consistent with the APA standard of review.” Oceana, Inc. v. Locke, 831

  F.   Supp.     2d 95,   106   (D.D.C.   2011).   Judicial   review    under   the APA    is limited     to the

  administrative record. 5 U.S.C. § 706.

          ANALYSIS

           The    APA     demands    courts   “hold unlawful      and    set aside”   agency   action    “not in

  accordance with law” and “in excess of statutory jurisdiction.” 5 U.S.C. § 706(2)(A), (C). When




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  doing so, the “court shall decide all relevant questions of law” and “interpret... statutory

  provisions.” Id. § 706. After Loper Bright, the “text of the APA means what it says.” 144 S.

  Ct. at 2262. Courts interpret the meaning of statutes and evaluate whether agencies are

  within their bounds. Agencies                possess “only the authority that Congress                    has provided”

  because they are “creatures of statute.” Natl Fed’n of Indep. Bus. v. Dep’t of Lab., 595 U.S.

  109, 117 (2022).

          I. The 24/7 Requirement Exceeds CMS’s Statutory Authority

          Plaintiffs argue the 24/7 Requirement impermissibly replaces Congress’s mandate

  that nursing homes          “use the services of a registered                   professional nurse for at least 8

  consecutive    hours    a     day,     7     days     a    week.”   ECF         No.     57-1   at    33-34;     42     U.S.C.

  §§ 1896r(b)(4)(C)(i), 1895i-3(b)(4)(C)(i). They claim it “alters this statutory requirement in

  two distinct ways.” ECF No. 57-1 at 33-34. First, it replaces eight with twenty-four. Second,

  it changes the statute’s language of “use the services” of an RN to instead require an RN be

  “available to provide direct resident care.” Id. at 34 (quoting 89 Fed. Reg. at 40997).

          Defendants     respond        that    other provisions          grant     the    power      to impose        the    24/7

  Requirement—not the provision requiring at least eight hours a day, seven days a week. ECF

  No. 80-1 at 23 (invoking 42 U.S.C. Sections 1396r(d)(4)(B) among others); see also 89 Fed.

  Reg. at 40891 (relying on “separate authority” to impose the 24/7 Requirement and not the

  statute’s   8 hours/7 days     provision).          They    reference    several        provisions    they claim           grant

  authority to issue the requirements.                 First, in 42 U.S.C. Section 1396r(d)(4)(B), Congress

  empowered the Secretary to implement “such other requirements relating to the health and

  safety of residents or relating to the physical facilities thereof as [he] may find necessary.”

  Second, in 42 U.S.C. Section 1396r(f)(1), Congress declared “[i]t is the duty and responsibility

  of the Secretary to assure that requirements . . . are adequate to protect the health, safety,




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  welfare, and rights of residents and to promote the effective and efficient use of public

  moneys.” Medicare’s provisions are similar. See 42 U.S.C. § 1395i-3(d)(4)(B), (f)(1).

          Defendants claim these provisions “are broadly worded to give HHS significant leeway

  in deciding how best to safeguard...         residents’ health and safety.” ECF No. 80-1 at 21

  (quoting Northport Health Servs. of Ark., LLC v. U.S. Dep’t of Health & Hum. Servs., 14 F.4th

  856, 870 (8th Cir. 2021)). The 24/7 Requirement is valid under these provisions, they argue,

  and does not conflict with Congress’s 8 hours/7 days requirement because Congress used the

  words   “at least 8 consecutive   hours   a day,   7 days   a week.”    42 U.S.C.   § 1396r(b)(4)(C)()

  (emphasis added); ECF No. 80-1 at 24. Defendants claim Plaintiffs must “read the words ‘at

  least’ out of the statute entirely” to prevail. ECF No. 80-1 at 24. Because “at least” is there,

  they claim they have “discretionary authority” to “fill up the details of [the] statutory scheme”

  and impose higher requirements if they choose. Loper Bright, 144 8. Ct. at 2263 (internal

  quotation omitted); ECF No. 80-1 at 23.

                 A. The 24/7 Requirement Amends Congress’s Baseline

          CMS   lacks   authority   to issue   a regulation    that   replaces    Congress’s   preferred

  minimum hours with its own. That is exactly what the 24/7 Requirement does. Congress took

  it upon itself to set the minimum hours nursing homes “must use the services of a registered

  professional nurse.” 42 U.S.C. § 1396r(b)(4)(C)@(D. It set that level at “at least 8 consecutive

  hours a day.” Id. The 24/7 Requirement in effect amends                the statute because it strikes

  Congress’s “8,” and replaces it with the agency’s “24.” 42 C.F.R. § 483.35(c)(1) (“[T]he facility

  must have a registered nurse (RN) onsite 24 hours per day, for 7 days a week . .. .” (emphasis

  added)). But agencies lack the power to amend statutes, regardless of other provisions that

  may grant authority to regulate the space. Agencies may add detail to and enforce statutes.

  See Loper Bright, 144 S. Ct. at 2263. That does not extend to replacing Congress’s number

  with a different one. “That would let the agency amend [a] scheme delineated by statute.”


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  Nat'l Horsemen’s Benevolent & Protective Ass’n v. Black, 107 F.4th 415, 432 (5th Cir. 2024).

  Agencies lack statutory amendment power.

            Defendants’ arguments to the contrary are unavailing. They argue various provisions

  of Medicare and Medicaid “expressly delegate” “discretionary authority” to “fill up the details

  of a statutory scheme.” ECF        No. 80-1 at 23 (quoting Loper Bright, 144 S. Ct. at 2263).

  Congress routinely enacts statutes that grant agencies the authority “to prescribe rules to

  ‘fill up the details’ of a statutory scheme” or to “give meaning to a particular statutory term.”

  Loper Bright, 144 S. Ct. at 2263 (quoting Wayman              v. Southard, 23 U.S. (10 Wheat.) 1, 23

  (1825)). Defendants point to several Medicare and Medicaid provisions that do just that.

  Congress requires nursing homes to “provide (or arrange for the provision of)... dietary

  services that assure that the meals meet the daily nutritional and special dietary needs of

  each resident.” 42 U.S.C. § 1396r(b)(4). The agency’s regulations “fill up the details” and

  explain how nursing homes must fulfill that statutory requirement. 42 C.F.R. § 483.60(a)(1)

  (2024). In the same way, Congress required nursing homes to “establish and maintain an

  infection control program.” 42 U.S.C. § 1396r(d)(3)(A). Again, the agency’s regulations “fill up

  the details” and explain nursing homes comply with that requirement when they employ a

  specially trained “[iJnfection preventionist” to oversee that program.                42 C.F.R. § 483.80(b)

  (2024).

            None of these examples exhibit the agency replacing a statutory command with one

  of its own. Instead, they are within the normal realm of agencies adding details and specific

  requirements to Congress’s less specific mandates. In its example regulations, the agency

  explains what compliance with the statute is: employing a qualified dietitian or a trained

  infection    preventionist.    Defendants’     examples     are      inapposite   because    they    do   not

  demonstrate     the   agency   replacing     Congress’s   specific     terms   with   different   ones.   The

  provisions Defendants cite provide them the authority to issue these regulations. See Biden


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  v. Missouri,     595   U.S.   87,   94   (2022)   (“[T]he    Secretary   routinely   imposes   conditions   of

  participation that relate to the qualifications and duties of healthcare workers themselves . . .

  [and] has always justified these sorts of requirements by citing his authorities to protect

  patient health and safety.”).

          Here, the Court need not decide whether the provisions Defendants cite would grant

  the authority the agency claims to issue the 24/7 Requirement.                    It is true “Congress has

  authorized the Secretary to impose conditions on the receipt of Medicaid and Medicare funds

  that ‘the Secretary finds necessary in the interest of the health and safety of individuals who

  are furnished services.” Missouri, 595 U.S. at 93 (quoting 42 U.S.C. § 1395x(e)(9)). But, the

  agency’s exercise of that authority in the 24/7 Requirement plainly changes the minimum

  hours requirement Congress set as a statutory baseline. Congress did not grant statutory

  amendment authority nor stay silent on the base number of hours a nursing home must use

  an RN’s services. It answered eight. Congress reserved to itself that decision. And it has

  always done so. Moreover, it has rejected attempts to change the number. See 133 Cong. Reg.

  28998 (1987); H.R. 3543, 100th Cong. (1987); see also West Virginia v. Env’t Prot. Agency, 597

  U.S. 697, 743 (2022) (Gorsuch, J., concurring) (explaining rejected congressional proposals

  “may be a sign that an agency is attempting to ‘work [a]round’ the legislative process”

  (alteration in original) (quoting Nat? Fed’n of Indep. Bus. v. Occupational Safety & Health

  Admin., 142 S. Ct. 661, 668 (2022) (Gorsuch, J., concurring))). In Defendants’ other examples,

  Congress did not specify what “dietary services” would meet its mandate nor did it explain

  what   metrics    an “infection control       program”       must   satisfy. See 42 U.S.C.     § 1396r(b)(4),

  (d)(3)(A). So the agency exercised proper authority to explain them.

          Agencies may exercise general authority to explain details of a statutory scheme but

  may    not use the same       authority to amend            the statute because      of a basic rule of law




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  proposition: It cannot be the case that the governed break the law when they comply with

  Congress’s law as written. That is why the 24/7 Requirement runs afoul of Section 706.

          A nursing home, reading the law Congress passed, discerns it must supply an RN at

  least eight hours a day, seven days a week. So it employs one for that period. But then it

  discovers it is noncompliant because it is not meeting CMS’s 24-hour baseline. In that case,

  full compliance with the politically accountable branch means breaking the decrees of the

  nonpolitically accountable   one. That is not how the relationship between          Congress   and

  agencies works. Agencies can, for example, explain what compliance with providing “dietary

  services” or establishing an “infection control program” looks like via regulation. 42 U.S.C.

  § 1396r(b)(4), (d)(3)(A). But it cannot “rewrite clear statutory terms to suit its own sense of

  how the statute should operate.” In re Benjamin, 932 F.3d 293, 300 (5th Cir. 2019). Doing so

  would place nursing homes in the untenable position of fully complying with a statute while

  simultaneously violating the regulation. Whatever         authority Defendants’   cited provisions

  grant, it is not that.

          For this reason, Defendants’ argument that Plaintiffs’ position would require reading

  the words “at least” out of the statute fails. Congress setting a baseline that nursing homes

  “use the services of a [RN] for at least 8 consecutive hours a day” only means nursing homes

  must meet that bottom line. It does not mean the agency is free to raise that line higher.

  Congress’s authorization for nursing homes to employ an RN for more than eight hours daily

  is not authorization for the agency to demand more. Congress chose the specific baseline, and

  the agency cannot invoke general authority to change that specific line. See RadLAX Gateway

  Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645—46 (2012) (explaining that the “[gleneral

  language of a statutory provision . . . will not be held to apply to a matter specifically dealt

  with in another part of the same enactment” (alteration in original) (quoting D. Ginsberg &

  Sons, Inc. v. Popkin, 285 U.S. 204, 208 (1932))); cf. ANTONIN SCALIA & BRYAN A. GARNER,


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  READING LAW: THE INTERPRETATION OF LEGAL TEXTS 183 (2012) (“[T]he specific provision

  comes closer to addressing the very problem [of what the RN baseline is] and is thus more

  deserving of credence.”).

           Defendants’ “general delegation of authority does not give [them] license to alter the

  [statute’s] unambiguous terms.” Tex. Med. Ass’n v. U.S. Dep’t of Health & Hum. Servs., 120

  F.4th 494, 508 (5th Cir. 2024). Little is more unambiguous than the statute here. Congress

  set the baseline number of hours a nursing home must employ an RN at “8.” 42 U.S.C.

  § 1895i-3(b)(4)(C)i). The agency changed the number. But in doing so, it amended the statute

  and rendered a nursing home’s compliance with the statute a lawbreaking endeavor. It meant

  nursing homes could not “be sure of the rules that bind them.” Loper Bright, 144 S. Ct. at

  2285    (Gorsuch,         J., concurring)    (highlighting the fear that if “bureaucrats”              assign   new

  meaning “without any legislative revision” then people could never be sure of how to comply

  with the law). Only Congress can amend its laws because “the Constitution promises[] the

  American       people are sovereign and they alone may,                  through democratically responsive

  processes, ... revise federal legislation.” Loper Bright,                 144 S. Ct. at 2279 (Gorsuch, J.,

  concurring) (emphasis added). The agency admits the 24/7 Requirement “revises” Congress’s

  requirement. 89 Fed. Reg. at 40898. Thus, it cannot stand.

           II. The HPRD             Requirements         Strike      Consideration       of Factors       Congress
               Requires

           Plaintiffs argue the HPRD             Requirements fail for many of the same reasons. They

  claim Congress has “opted for a flexible qualitative standard” when it required nursing homes

  to provide nursing services “sufficient to meet the nursing needs of [their] residents.” ECF

  No.    57-1    at   36;    42   U.S.C.    § 1395i-3(b)(4)(C)(i).    Instead,    Plaintiffs   argue,    the   HPRD

  Requirements put a blanket mandate across all nursing homes, disregarding their individual

  “nursing      needs.”      42 U.S.C.     § 1395i-3(b)(4)(C)(i).    The   HPRD     Requirements        “substitute[]



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  CMS’s current policy views for Congress’s considered judgment” and “replac[e] that flexible

  standard with a rule of almost comical rigidity and specificity.” ECF No. 57-1 at 36. They do

  so by “requiring every nursing home in the country to provide ‘a minimum of 3.48 hours per

  resident day for total nurse staffing[,] including but not limited to—(i) [a] minimum of 0.55

  hours per resident day for registered nurses; and (ii) [a] minimum of 2.45 hours per resident

  day for nurse aids.” Id. (quoting 89 Fed. Reg. at 40996). This blanket requirement fails to

  “accommodate[] the wide variation in resident needs across different States, localities, and

  facilities.” Id. Plaintiffs claim the agency has no such authority to replace a flexible standard

  with a universal, unflinching one.

            Defendants think they do. And they invoke the same provisions invoked vis-a-vis the

  24/7 Requirement: 42 U.S.C. Section 1396r(d)(4)(B), which grants the authority to implement

  “such other requirements relating to the health and safety of residents or relating to the

  physical facilities thereof as the Secretary may            find necessary”    and 42 U.S.C.    Section

  1396r(f)(1) wherein Congress declared “[i]t is the duty and responsibility of the Secretary to

  assure that requirements... are adequate to protect the health, safety, welfare, and rights

  of residents and to promote the effective and efficient use of public moneys.” See also 42

  U.S.C. § 1395i-3(d)(4)(B), (f)(1). They note Plaintiffs do not contest whether these provisions

  grant CMS      the authority to impose the HPRD           Requirements.   ECF No. 80-1 at 27. They

  advance     that   Plaintiffs’   argument   is flawed    because   the HPRD     Requirements    do not

  substitute the agency’s policy views for Congress’s as the HPRD               Requirements “are not a

  ‘rigid one-size-fits all’ approach.” Id. at 28 (quoting ECF No. 57-1 at 37). They are not a one-

  size-fits-all approach because they are based on “the actual number                of residents in the

  facility” and thus “adjusted for [the] size of [the] facility.” Id. at 28 (quoting 89 Fed. Reg.

  40908—09). Because a nursing home may still need to impose higher staffing to have sufficient

  staff, the HPRD      Requirements and Congress’s flexible standard can “comfortably coexist.”
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  Id. They again point to the same examples where the agency has “fill[ed] up the details” of a

  congressional mandate. Id. at 29-30.

          Again, this is not a “fill up the details” scenario. Jd. at 29. Congress requires nursing

  homes to “provide 24-hour licensed nursing services which are sufficient to meet the nursing

  needs   of   its    residents.”    42     U.S.C.     § 1396r(b)(4)(C)i)   (emphasis    added);     id.   § 1395i-

  8(b)(4)(C)().      The   text   reveals    factors    that    nursing   homes   must   consider.    It requires

  determination of the “nursing needs” of a facility’s residents. The “nursing needs” necessarily

  encompass a range of detailed evaluations. “Resident care needs [can] vary depending on

  acuity, clinical complexity, and other resident characteristics,” to name a few. Admin. Rec. at

  70006. “[Hligher-acuity or more clinically complex residents” can affect what a facility’s

  “nursing needs” are. Id. The agency has agreed these factors can affect a facilitys nursing

  needs in the past. See, e.g., 39 Fed. Reg. at 2239 (rejecting requirements like the HPRD

  Requirements “because the variation from facility to facility in the composition of its nursing

  staff, physical layout, patient needs and the services necessary to meet those needs precludes

  setting such” a regulation). Indeed, one of Defendants’ cited studies admits a need for more

  data “to develop an algorithm for relating minimum nursing staff requirements to case mix.”

  INST. OF MED., IMPROVING THE QUALITY OF CARE IN NURSING HOMES                          102 (1986). Instead of

  imposing blanket ratios across all facilities, the study recommended                      a more fine-tuned

  algorithm capable of considering sufficient factors that affect the nursing needs of a facility.

  Defendants claim they have sufficient data now. ECF No. 80-1 at 34 (“Now that adequate

  data is available... .”).

          But the HPRD Requirements do not exhibit adequate data are available because they

  do not account for an individual facility's nursing needs. If adequate data were available, the

  regulation would produce           a minimum         staffing level that considered the “case-mix” of a




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  facility. But the agency proclaims the HPRD Requirements do not consider a facility’s nursing

  needs. 89 Fed. Reg. at 40877 (“[T]he standards themselves will be implemented and enforced

  independent   of a facility's    case-mix.”).   The    HPRD   Requirements      set one   rule for all.

  Defendants’ argument that it is not a blanket rule because it considers a facility's number of

  residents is not convincing. The HPRD Requirements mandate a certain number of staffing

  hours per facility resident for different types of nursing staff. Every nursing home must

  comply, aside from the exemption provisions. To comply, nursing homes must count their

  residents and then multiply by CMS’s cutoff number for each nursing staff type to calculate

  the total hours required per day. See 42 C.F.R. § 483.5 (defining hours per resident day as

  “the total number   of hours worked by each type of staff divided by the total number of

  residents as calculated by CMS”).

         The agency lacks authority to eliminate consideration of a facility's nursing “needs”

  when   prescribing minimum       staffing standards.     42 U.S.C.     § 1396r(b)(4)(C)()(). Congress

  stipulated that the “[rlequired nursing care” standard must contemplate “the nursing needs

  of [a facility’s] residents.” Id. at § 1396r(b)(4)(C), (b)(4)(C)@(). This provision specifically

  governs the minimum standard of nursing care. See RadLax, 566 U.S. at 646. But the HPRD

  Requirements in effect strike that portion of the statute. They do not consider the nursing

  “needs” of a facility’s residents. 42 U.S.C. § 1896r(b)(4)(C)@)(D. Instead, they mandate hours-

  per-resident-day ratios for all facilities. In so doing, they set a baseline staffing requirement

  that does not follow the statute’s terms. True, other requirements may demand a facility staff

  higher than the baseline HPRD        Requirements. See 89 Fed. Reg. at 40891 (“We expect that

  many facilities will need to staff above the minimum standards to meet the acuity needs of

  their residents depending on case-mix and as mandated by the facility assessment required

  at § 483.71.”). But whether other requirements comply with the statute or not, CMS cannot

  set a baseline that neglects “needs” Congress mandated. 42 U.S.C. § 1896r(b)(4)(C)(i)(D.


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            Again, none of this determines the scope of authority Defendants’ cited provisions

  grant. Those provisions do textually grant broad authority. Cf. Missouri, 595 U.S. at 93. But

  no matter how broad that authority, it cannot authorize altering Congress’s exercise of its

  own authority. That is what the HPRD Requirements do when they set minimum staffing

  levels flouting the factors Congress requires be considered. Of course, agencies can “fill up

  the details” of a statutory scheme, just as the agency did when it issued regulations on

  nursing homes’ infection control programs and dietary services. ECF No. 80-1 at 29. This

  may even mean         adding additional requirements Congress did not contemplate. See, e.g.,

  Missouri, 595 U.S. at 93-96 (holding the agency could require healthcare workers to receive

  the coronavirus vaccination though Congress never specifically imposed healthcare-worker

  vaccination requirements). Here, the agency likely could remain within its authority if it

  issued     regulations   specifying    how   a facility    should   analyze   the “nursing      needs   of its

  residents.” 42 U.S.C. § 1896r(b)(4)(C)(i). That would likely constitute “fill[ing] up the details”

  of a statutory scheme. Loper Bright, 144 S. Ct. at 2263 (internal quotation omitted). But it

  may      not   set a baseline   that   ignores   residents’    nursing   needs.   An   agency    exercise   of

  discretionary authority to elucidate details can never mean stripping away statutory text.

  “Filling up” details is not statutory substitution. Addition is not subtraction. Agencies may

  add to statutes consistent with their delegated authority and other laws. They may never cut

  statutes to replace them with their own requirements.

            III. Major Questions Doctrine and Arbitrary and Capricious Review

            Plaintiffs raise the major questions doctrine as a separate argument against CMS’s

  assertion of authority in the Final Rule. ECF No. 57-1 at 38-41. The major questions doctrine

  requires “clear congressional authorization” instead of “a merely plausible textual basis”

  when agencies “claim[] the power to resolve a matter of great political significance” or “seek[]

  to regulate a significant portion of the American economy or require billions of dollars in
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  spending by private persons or entities.” West Virginia, 597 U.S. at 723; id. at 743, 744

  (Gorsuch,     J.,   concurring)       (internal     quotations       omitted).   And   when,    as     here,    Congress

  repeatedly declines to authorize the challenged agency action, then that “may be a sign that

  an agency is attempting to ‘work [a]round’ the legislative process to resolve for itself a

  question     of great     political    significance.”       West     Virginia,   597   U.S.   at 743     (Gorsuch,     J.,

  concurring) (alteration in original) (quoting Natl Fed’n of Indep. Bus. v. Occupational Safety

  & Health Admin., 595 U.S. 109, 122 (2022) (Gorsuch, J., concurring)).

         However,         because   the Final Rule           contravenes     statutory provisions        aside from     the

  agency’s claim of authority, the Court need not examine “ambiguous statutory text” to discern

  whether “the delegation claimed to be lurking there” exists. Jd. at 723 (quoting Util. Air

  Regul. Grp. v. Env’t Prot. Agency, 573 U.S. 302, 324 (2014)). The major questions doctrine

  uses context to aid “interpreting the scope of a delegation.” Biden v. Nebraska, 600 U.S. 477,

  513 (2023) (Barrett, J., concurring). However, when Congress itself legislates “the. details,”

  the question of whether it “delegat[ed] [them] away” answers itself. Id. at 515 (quoting

  Wayman,      23 U.S. (10 Wheat.)         1 (1825)). For that reason, the Court need not address those

  arguments here.

         For the same          reason, because          the Final Rule’s challenged provisions contravene

  Congress’s    prescriptions,      the Court         “does not consider the parties’ remaining                  arguments

  regarding arbitrary and capricious rulemaking.” Tenn. Walking Horse Nat'l Celebration Ass’n

  v. U.S. Dep’t of Agric., No. 2:24-CV-143, 2025 WL 360895, at *4 (N.D. Tex. Jan. 31, 2025)

  (citing Nat Ass’n of Priv. Fund Managers v. Sec. & Exch. Comm’n, No. 4:24-CV-250, 2024

  WL   4858589,       at *8 (N.D.       Tex.   Nov.    21,   2024)).    Judicial   restraint    counsels     “if it is not

  necessary to decide more, it is necessary not to decide more.” PDK Lab’ys Inc. v. U.S. Drug




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  Enft Agency, 362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring in part and in the

  judgment).

             IV. Vacatur Is the Appropriate Relief

             Judicial restraint is relevant for considering the appropriate relief as well. Defendants

  argue that if this Court holds the 24/7 Requirement and the HPRD Requirements contrary

  to the APA, then any relief should be curtailed to the parties and challenged provisions. ECF

  No. 80-1 at 57-58. They also contend that the APA “does not authorize any particular form

  of relief.” Id. at 56 (emphasis in original); see also Transcript of Oral Argument at 36, United

  States v. Texas, 599 U.S. 670 (2028) (No. 22-58) (Chief Justice Roberts reacting “[w]ow” in

  response to this argument). But see Texas, 599 U.S.                 at 686, 701-02    (Gorsuch, Thomas      &

  Barrett,     JJ.,   concurring)   (questioning    vacatur   while     recognizing    it is not    a universal

  injunction     and that whether       the APA     authorizes   vacatur is not “open         and   shut” with

  “[t]houghtful arguments and scholarship” on both sides).

             The Supreme Court “will have to address” the “serious questions” about vacatur and

  universal injunctions “sooner or later.” Id. at 702. Until then, the Fifth Circuit’s precedents

  govern this Court. The Fifth Circuit has consistently held that “vacatur under [Section]

  706(2) [is] a remedy that affects individuals beyond those who are parties to the immediate

  dispute.” Braidwood Mgmt., Inc. v. Becerra, 104 F.4th 930, 951 (5th Cir. 2024), cert. granted,

  No. 24-316, 2025 WL          65918   (U.S. Jan.   10, 2025), and cert. denied sub nom. Braidwood

  MGMT.       Inc. v. Becerra, No. 24-475, 2025 WL 76462 (U.S. Jan. 13, 2025). It “empowers courts

  to set aside—i.e., formally nullify and revoke—an unlawful agency action.” Data Mktg. P’ship,

  LP v. U.S. Dep’t of Lab., 45 F.4th 846, 859 (5th Cir. 2022) (quoting Jonathan F. Mitchell, The

  Writ-of-Erasure Fallacy, 104 VA. L. REV. 933, 950 (2018)). And it operates nationwide because

  it “operates on the status of agency action in the abstract.” Braidwood,                  104 F.4th at 951.




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  Compare Texas v. Biden, 646 F. Supp. 3d 753, 780 (N.D. Tex. 2022) (vacating because “a

  geographically-limited [remedy] would be ineffective” (alteration in original) (quoting Texas

  v. United States, 40 F.4th 205, 229 n.18 (5th Cir. 2022))), with Texas v. Bureau of Alcohol,

  Tobacco, Firearms, and Explosives, 737 F. Supp. 3d 426, 444 (N.D. Tex. 2024) (preliminarily

  enjoining only as to plaintiff parties).

         As the Fifth Circuit has “repeatedly described it,” vacatur is the default “remedy for

  unlawful agency action.” Id. at 952 (citing cases). It does not require consideration of the

  equities because as the Fifth Circuit “conceptualizes it,” it is not “a remedy familiar to courts

  sitting in equity.” Id. Because the “default rule is that vacatur is the appropriate remedy,”

  this Court finds no reason to depart pending changes in precedent. Data Mktg., 45 F.4th at

  859.

          But a question remains about what this Court must vacate. Defendants argue vacatur

  should be limited to the challenged provisions of the Final Rule. Plaintiffs challenge the 24/7

  Requirement and the HPRD Requirements only. ECF Nos. 57-1 at 11; 96 at 41. And the Final

  Rule contains a severability clause. 89 Fed. Reg. at 40913. This Court has not analyzed the

  unchallenged    provisions of the Final Rule to determine if they flout the APA.               And the

  “severance and invalidation of [the challenged requirements] will not impair the function of

  [Medicare and Medicaid participation conditions] as a whole.” K Mart Corp. v. Cartier, Inc.,

  486 U.S. 281, 294 (1988). Even more, the Final Rule itself reveals that “there is no indication

  that the regulation would not have been passed but for” the “inclusion” of the offending

  provisions.   Id.; see also   89   Fed.   Reg.   at 40913.   Thus,   vacatur   is limited   to the 24/7

  Requirement and the HPRD Requirements.




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         CONCLUSION

         Accordingly,   the   Court   GRANTS   Plaintiffs’   Motion   and   DENIES    Defendants’

  Cross-Motion.   The 24/7 Requirement    and the HPRD       Requirements    at 42 C.F.R. Section

  483.35(b)(1) and 483.35(c) are VACATED per 5 U.S.C. Section 706(2).

         SO ORDERED.

         April 7, 2025                                   MA             a

                                                    MA           W J. KACSMARYK
                                                              'D STATES DISTRICT JUDGE




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